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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

DIAMOND BAR CATTLE COMPANY
and LANEY CATTLE COMPANY

               Plaintiffs,

               vs.                                           CIVIL NO. 96-437 WJ/LCS


UNITED STATES OF AMERICA;
ANN VENEMAN, Secretary of
the United States Department of
Agriculture; and U.S.D.A.
Forest Service,

               Defendants.

                         NOTICE OF WITHDRAWAL OF COUNSEL

               The United States of America, by and through the undersigned, hereby withdraws

U.S. Department of Justice counsel of record Lois J. Schiffer and Margo D. Miller. Said counsel

were associated with the original litigation in this matter, and no longer work with the

Department of Justice. The United States will continue to be represented in this matter by

Howard R. Thomas, Assistant U.S. Attorney.

                                                     Respectfully submitted,

                                                     DAVID C. IGLESIAS
                                                     United States Attorney


                                                     ____________________________
                                                     HOWARD R. THOMAS
                                                     Assistant U. S. Attorney
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                                  Case 1:96-cv-00437-WJ-LCS Document 144 Filed 09/13/05 Page 2 of 2



I HEREBY CERTIFY that on September 13, 2005, a true and correct copy of the foregoing was
mailed to Kit Laney and Sherry Farr at HC-30, Box 470, Winston, NM 87943, to Paul M.
Kienzle III, Esq., P.O. Box 587, Albuquerque, NM 87103-0587, to David Plotsky, Esq., 122
Girard Ave., S.E., Albuquerque, NM 87106, and to Thomas D. Lustig, Esq., National Wildlife
Federation, Suite 100, 2260 Baseline Road, Boulder, CO 80302.
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